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 1   Michael J. Bettinger (SBN 122196)                    Seth W. Wiener (SBN 203747)
     mbettinger@sidley.com                                seth@sethwienerlaw.com
 2   Irene Yang (SBN 245464)                              LAW OFFICES OF SETH WIENER
     irene.yang@sidley.com                                609 Karina Court
 3   Sue Wang (SBN 286247)                                San Ramon, CA 94582
     sue.wang@sidley.com                                  Telephone: (925) 487-5607
 4   SIDLEY AUSTIN LLP
     555 California Street, Suite 2000                    Jeffrey Francis Craft (SBN 147186)
 5   San Francisco, California 94104-1715                 jcraft@devlinlawfirm.com
     Telephone: (415) 772-1200                            DEVLIN LAW FIRM LLC
 6   Facsimile: (415) 772-7400                            1731 Fox Springs Circle,
                                                          Newbury Park, CA 91320
 7   Andrew T. Langford (pro hac vice)
     alangford@sidley.com                                 Timothy Devlin (pro hac vice)
 8   Michael L. Roberts (pro hac vice)                    tdevlin@devlinlawfirm.com
     mlroberts@sidley.com                                 Robert Dean Kiddie, Jr. (pro hac vice)
 9   SIDLEY AUSTIN LLP                                    rkiddie@devlinlawfirm.com
     2021 McKinney Avenue, Suite 2000                     DEVLIN LAW FIRM LLC
10   Dallas, TX 75201                                     1526 Gilpin Avenue
     Telephone: (214) 981-3300                            Wilmington, DE 19806
11   Facsimile: (214) 981-3400                            Telephone: (302) 449-9010
                                                          Facsimile: (302) 353-4251
12   Attorneys for Magento, Inc.
                                                          Attorneys for Express Mobile, Inc.
13

14                                    UNITED STATES DISTRICT COURT
15                                 NORTHERN DISTRICT OF CALIFORNIA
16                                         SAN FRANCISCO DIVISION
17   X.COMMERCE, INC. D/B/A MAGENTO,                        Case No.: 3:17-cv-02605-RS
     INC.,
18                                                          JOINT STIPULATION AND ORDER RE:
                   Plaintiff,                               CASE SCHEDULE AS MODIFIED BY THE
19                                                           COURT
            vs.
20                                                          Assigned to Honorable Richard Seeborg
     EXPRESS MOBILE, INC.,
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                   Defendant.
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                                JOINT STIPULATION AND [PROPOSED] ORDER RE: CASE SCHEDULE
                                                CASE NO. 3:17-CV-02605-RS
             Case 3:17-cv-02605-RS Document 199 Filed 10/20/20 Page 2 of 5



 1            IT IS HEREBY STIPULATED by and between Plaintiff X.Commerce, Inc. d/b/a/ Magento,

 2   Inc. (“Magento”) and Defendant Express Mobile, Inc. (“Express Mobile”), subject to the approval of

 3   the Court, as follows:

 4            WHEREAS, on August 14, 2020, the Court entered an order continuing the close of expert

 5   discovery to October 24, 2020, continuing the deadline for filing dispositive and Daubert motions to

 6   November 19, 2020, vacating all additional deadlines previously set by the Court, and ordering the

 7   parties to provide the Court with a new proposed schedule before the close of expert discovery (Dkt.

 8   196);

 9            WHEREAS, the previous time modifications in this case are as follows: On October 26,

10   2017, the Court entered the original Case Management Scheduling Order (Dkt. 44) setting deadlines

11   through claim construction, which was modified on December 14, 2017 (Dkt. 50), January 5, 2018

12   (Dkt. 52), March 8, 2018 (Dkt. 58), and May 11, 2018 (Dkt. 64); on February 15, 2019, the Court

13   entered a new Case Management Scheduling Order (Dkt. 87) setting post-claim construction

14   deadlines, which was modified on July 26, 2019 (Dkt. 98), September 12, 2019 (Dkt. 115),

15   September 25, 2019 (Dkt. 126), November 21, 2019 (Dkt. 150), December 3, 2019 (Dkt. 154), and

16   December 16, 2019 (Dkt. 158); and on April 2, 2020, the Court entered a Further Case Management

17   Scheduling Order (Dkt. 178), which was supplemented on April 15, 2020 (Dkt. 182) and partially

18   modified and partially vacated on August 14, 2020 (Dkt. 196).

19            NOW, THEREFORE, pursuant to Civil Local Rule 7-12 and to the Court’s August 14, 2020

20   order, the parties hereby stipulate to and propose the following new case schedule:

21
                                      Description                                   Date
22              Close of expert discovery                                  October 24, 2020
23              Deadline file dispositive motion and Daubert motion        November 19, 2020

24              Deadline to file oppositions to dispositive motion and     December 23, 2020
                Daubert motion
25              Deadline to file replies to dispositive motion and         January 21, 2021
26              Daubert motion

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                              JOINT STIPULATION AND [PROPOSED] ORDER RE: CASE SCHEDULE
                                              CASE NO. 3:17-CV-02605-RS
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 1                                   Description                                      Date
 2             Hearing on dispositive motions and Daubert motions         February 11, 2021 at
                                                                          1:30 PM or at the
 3                                                                        Court’s convenience 1
 4             Last day for lead trial counsel to meet and confer          21 days before
               pursuant to Paragraph A of the Guidelines for Final         pretrial conference
 5             Pretrial Conference in Jury Cases before Judge
               Seeborg
 6
               Deadline to submit joint pretrial statement and order       10 days before
 7             and file motions in limine;                                 pretrial conference
               Deadline for parties to exchange exhibits
 8
               Deadline for parties to deliver exhibits, file and serve    5 days before pretrial
 9             deposition designations, and file and serve jury            conference
               materials;
10
               Deadline to file a trial brief
11             Pretrial conference                                         May 19, 2021 at
                                                                           10:00 AM
12

13             Jury Trial                                                  June 1, 2021 at 9:00
                                                                           AM
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16          IT IS SO STIPULATED.

17                                                         Respectfully submitted,

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19   Dated: October 20, 2020                               By: /s/ Irene Yang
                                                              Irene Yang
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                                                               Attorneys for Plaintiff Magento, Inc.
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22
     Dated: October 20, 2020                               By: /s/ Jeffrey F. Craft
23                                                            Jeffrey F. Craft
24                                                             Attorneys for Defendant Express
                                                               Mobile, Inc.
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     1
      The parties will contact Magistrate Judge Corley to reschedule the settlement conference once a
28   summary judgment hearing date is set. See Dkt. 197.
                                                     2
                            JOINT STIPULATION AND [PROPOSED] ORDER RE: CASE SCHEDULE
                                            CASE NO. 3:17-CV-02605-RS
           Case 3:17-cv-02605-RS Document 199 Filed 10/20/20 Page 4 of 5



 1                                      SIGNATURE ATTESTATION

 2           Pursuant to Civil Local Rule 5-1(i)(3), I hereby certify that concurrence in the filing of this

 3   document has been obtained from each of the other signatories shown above.

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 5   Dated: October 20, 2020                                       /s/ Irene Yang
                                                                   Irene Yang
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                             JOINT STIPULATION AND [PROPOSED] ORDER RE: CASE SCHEDULE
                                             CASE NO. 3:17-CV-02605-RS
          Case 3:17-cv-02605-RS Document 199 Filed 10/20/20 Page 5 of 5



 1         PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2

 3           October 20, 2020
     Dated: _______________________                   _______________________
                                                      Honorable Richard Seeborg
 4                                                    UNITED STATES DISTRICT JUDGE
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                        JOINT STIPULATION AND [PROPOSED] ORDER RE: CASE SCHEDULE
                                        CASE NO. 3:17-CV-02605-RS
